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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                        CORPUS CHRISTI DIVISION

Ronnie W. Watkins, et al.

v.                                           Case Number: 2:18−cv−00028

Union Pacific Railroad Company




                               NOTICE OF RESETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Hayden Head
PLACE:
United States District Court
1133 N. Shoreline Blvd.
Corpus Christi, TX
DATE: 4/11/2018

TIME: 02:40 PM
TYPE OF PROCEEDING: Initial Conference



Date: March 21, 2018
                                                        David J. Bradley, Clerk
